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8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   GAVIN JONES, an individual, et al. ,           Case No.: 18cv2729-W-LL
12                                     Plaintiff,
                                                    SCHEDULING ORDER
13   v.                                             REGULATING DISCOVERY
                                                    AND OTHER PRE-TRIAL
14   COUNTY OF SAN DIEGO, a public
                                                    PROCEEDINGS
     entity, et al. ,
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                                     Defendant.
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             Pursuant to Rule 16.1(d) of the Local Rules, a Case Management Conference was
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     held on August 7, 2019. After consulting with the attorneys of record for the parties and
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     being advised of the status of the case, and good cause appearing, IT IS HEREBY
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     ORDERED:
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             1.   A joint motion for a stipulated protective order shall be filed by August 28,
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     2019.
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             2.   Any motion to join other parties, to amend the pleadings, or to file additional
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     pleadings shall be filed by September 30, 2019.
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             3.   All fact discovery shall be completed by all parties by March 9, 2020.
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     “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
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     Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period of
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1    time in advance of the cut-off date, so that it may be completed by the cut-off date, taking
2    into account the times for service, notice and response as set forth in the Federal Rules of
3    Civil Procedure. Counsel shall promptly and in good faith meet and confer with
4    regard to all discovery disputes in compliance with Local Rule 26.1(a). The Court
5    expects counsel to make every effort to resolve all disputes without court intervention
6    through the meet and confer process. If the parties reach an impasse on any discovery
7    issue, counsel shall file an appropriate motion within the time limit and procedures outlined
8    in the undersigned magistrate judge’s chambers rules. A failure to comply in this regard
9    will result in a waiver of a party’s discovery issue. Absent an order of the court, no
10   stipulation continuing or altering this requirement will be recognized by the court.
11         4.     The parties shall designate their respective experts in writing by April 9, 2020.
12   Pursuant to Fed. R. Civ. P. 26(a)(2)(A), the parties must identify any person who may be
13   used at trial to present evidence pursuant to Rules 702, 703 or 705 of the Fed. R. Evid.
14   This requirement is not limited to retained experts. The date for exchange of rebuttal
15   experts shall be by April 23, 2020. The written designations shall include the name,
16   address and telephone number of the expert and a reasonable summary of the testimony
17   the expert is expected to provide. The list shall also include the normal rates the expert
18   charges for deposition and trial testimony.
19         5.     By May 26, 2020, each party shall comply with the disclosure provisions in
20   Rule 26(a)(2)(A) and (B) of the Federal Rules of Civil Procedure. This disclosure
21   requirement applies to all persons retained or specially employed to provide expert
22   testimony, or whose duties as an employee of the party regularly involve the giving of
23   expert testimony. Except as provided in the paragraph below, any party that fails to
24   make these disclosures shall not, absent substantial justification, be permitted to use
25   evidence or testimony not disclosed at any hearing or at the time of trial. In addition,
26   the Court may impose sanctions as permitted by Fed. R. Civ. P. 37(c).
27         6.     Any party shall supplement its disclosure regarding contradictory or rebuttal
28   evidence under Federal Rules of Civil Procedure 26(a)(2)(D) and 26(e) by June 9, 2020.

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1           7.     All expert discovery shall be completed by all parties by July 9, 2020. The
2    parties shall comply with the same procedures set forth in the paragraph governing fact
3    discovery.
4           8.     Failure to comply with this section or any other discovery order of the court
5    may result in the sanctions provided for in Fed. R. Civ. P. 37, including a prohibition on
6    the introduction of experts or other designated matters in evidence.
7           9.     All other pretrial motions must be filed by August 10, 2020. Counsel for the
8    moving party must obtain a motion hearing date from the law clerk of the judge who will
9    hear the motion. The period of time between the date you request a motion date and the
10   hearing date may vary from one district judge to another. Please plan accordingly. Failure
11   to make a timely request for a motion date may result in the motion not being heard.
12   Motions in limine are to be filed as directed in the Local Rules, or as otherwise set by the
13   district judge.
14          10.    A Mandatory Settlement Conference shall be conducted on August 19, 2020
15   at 1:30 p.m. in the chambers of Magistrate Judge Linda Lopez. Counsel or any party
16   representing himself or herself shall lodge confidential settlement briefs directly to
17   chambers by August 11, 2020. All parties are ordered to read and to fully comply with the
18   Chamber Rules of the assigned magistrate judge.
19          11.    Pursuant to Civil Local Rule 7.1(f)(3)(c), if an opposing party fails to file
20   opposition papers in the time and manner required by Civil Local Rule 7.1(e)(2), that
21   failure may constitute a consent to the granting of a motion or other request for ruling by
22   the court. Accordingly, all parties are ordered to abide by the terms of Local Rule 7.1(e)(2)
23   or otherwise face the prospect of any pretrial motion being granted as an unopposed motion
24   pursuant to Civil Local Rule 7.1(f)(3)(c). Should either party choose to file or oppose a
25   motion for summary judgment or partial summary judgment, no Separate Statement of
26   Disputed or Undisputed Facts is required.
27          12.    Despite the requirements of Civil Local Rule 16.1(f)(2), neither party is
28   required to file a Memorandum of Contentions of Fact and Law at any time. The parties

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1    shall instead focus their efforts on drafting and submitting a proposed pretrial order by the
2    time and date specified by Civil Local Rule 16.1(f)(6)(b). The proposed pretrial order shall
3    comply with Civil Local Rule 16.1(f)(6) and the Standing Order in Civil Cases issued by
4    the assigned district judge.
5             13.   Counsel shall comply with the pre-trial disclosure requirements of Fed. R.
6    Civ. P. 26(a)(3) by November 9, 2020.            Failure to comply with these disclosure
7    requirements could result in evidence preclusion or other sanctions under Fed. R. Civ. P.
8    37.
9             14.   Counsel shall meet and take the action required by Local Rule 16.1(f)(4) by
10   November 16, 2020. At this meeting, counsel shall discuss and attempt to enter into
11   stipulations and agreements resulting in simplification of the triable issues. Counsel shall
12   exchange copies and/or display all exhibits other than those to be used for impeachment.
13   The exhibits shall be prepared in accordance with Local Rule 16.1(f)(4)(c). Counsel shall
14   note any objections they have to any other parties’ Pretrial Disclosures under Fed. R. Civ.
15   P. 26(a)(3). Counsel shall cooperate in the preparation of the proposed pretrial conference
16   order.
17            15.   Counsel for plaintiff will be responsible for preparing the pretrial order and
18   arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). By November 23,
19   2020, plaintiff’s counsel must provide opposing counsel with the proposed pretrial order
20   for review and approval. Opposing counsel must communicate promptly with plaintiff’s
21   attorney concerning any objections to form or content of the pretrial order, and both parties
22   shall attempt promptly to resolve their differences, if any, concerning the order.
23            16.   The Proposed Final Pretrial Conference Order, including objections to any
24   other parties’ Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared, served and
25   lodged with the assigned district judge by November 30, 2020, and shall be in the form
26   prescribed in and comply with Local Rule 16.1(f)(6).
27            17.   In addition to submitting the proposed final pretrial conference order, the
28   parties are further ordered to separately submit informal letter briefs, not exceeding two

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1    single spaced pages, served on opposing counsel and received in the chambers of Judge
2    Thomas J. Whelan, United States District Judge (and not filed with the Clerk’s Office) by
3    2:30 p.m. on December 9, 2020. The letter brief should be a relatively informal and
4    straightforward document. The letter brief should outline a short, concise and objective
5    factual summary of the party’s case in chief, the number of hours/days each party intends
6    to expend at trial, the approximate number of witnesses, whether certain witnesses will be
7    coming in from out of town, the number of testifying expert witnesses, whether any unique
8    demonstrative exhibits may be presented, the number of proposed motions in limine that
9    may be filed, precisely when the parties would be prepared to submit their in limine papers
10   (and whether the parties have met and conferred with respect to in limine issues), the issue
11   of proposed jury instructions and when the parties intend to submit them before trial, and
12   voir dire issues, either party’s preference as to what date(s) the trial should begin and any
13   other pertinent information that either party may deem useful to assist the Court in the
14   execution of the pretrial conference and in setting the matter for trial.
15         18.    The final Pretrial Conference is scheduled on the calendar of the Honorable
16   Thomas J. Whelan on December 14, 2020 at 10:30 a.m.
17         19.    The parties must review the chambers’ rules for the assigned district judge
18   and magistrate judge.
19         20.    A post trial settlement conference before a magistrate judge may be held
20   within 30 days of verdict in the case.
21         21.    The dates and times set forth herein will not be modified except for good cause
22   shown.
23         22.    Briefs or memoranda in support of or in opposition to any pending motion
24   shall not exceed twenty-five (25) pages in length without leave of a district court judge.
25   No reply memorandum shall exceed ten (10) pages without leave of a district court judge.
26   Briefs and memoranda exceeding ten (10) pages in length shall have a table of contents
27   and a table of authorities cited.
28         23.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter this

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1    case hereafter.
2          IT IS SO ORDERED.
3    Dated: August 12, 2019
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